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   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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  11 JOSEPH PEREZ, on behalf of himself             )   CASE NO.: CV-10-8653 RGK-(FFMx)
       and others similarly situated,               )
  12                                                )   [PROPOSED] ORDER
                    Plaintiffs,                     )
  13                                                )   Hon. R. Gary Klausner
            v.                                      )   Courtroom: 850
  14                                                )
       SAFELITE GROUP, INC.; et al.,                )
  15                                                )
                    Defendants.                     )
  16 _________________________ )
  17
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Plaintiff Joseph
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       Perez's individual claims alleged in the Complaint against Defendant Safelite Group, Inc.
  19
       are hereby DISMISSED.
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            IT IS FURTHER ORDERED that Plaintiff specifically retains a personal stake
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       in the class claims as a representative of the class.
  22
            IT IS SO ORDERED.
  23
  24 DATED: March 14, 2012                _______________________________
                                          HONORABLE R. GARY KLAUSNER
  25                                      UNITED STATES DISTRICT JUDGE
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                    _______________________________________________________________________
                                               [PROPOSED] ORDER
